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      In The United States Court of Federal Claims
                                         No. 08-758C

                                    (Filed: January 15, 2010)
                                           __________
 ROGER A. HOUSE,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                           _________

                                           ORDER
                                          __________

       The telephonic status conference that was scheduled for January 29, 2010, at 2:00 p.m.
(EST) is hereby canceled.

       IT IS SO ORDERED.



                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
